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Unlted States Courts

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soUTHERN DISTRICT oF TEXAs F'LE°

HoUsToN DIvlsIoN JAN 04 2017
UNITED sTATEs oF AMERICA § °a"ld~'-Brwey. clerkorcoun
v. § cRIMINAL No.
CHARLES QUINTARD BEECH 111 § 1 ij Ci`i 0 91 6
lN_E_O;RM

THE UNITED STATES CHARGES:
Introduction

At all times material to this Information:

l. Petroleos de Venezuela S.A. (“PDVSA”) was the Venezuelan state-
owned and state-controlled oil company. PDVSA and its subsidiaries Were
responsible for the exploration, production, reflning, transportation, and trade in
energy resources in Venezuela and provided funding for other operations of the
Venezuelan government Bariven S.A. (“Bariven”) Was the PDVSA procurement
subsidiary responsible for equipment purchases. PDVSA and its Wholly owned
subsidiaries, including Bariven, Were “instrumentalities” of the Venezuelan
government as that term is used in the Foreign Corrupt Practices Act (“FCPA”),
Title 15, United States Code, Section 7 8dd-2(h)(2)(A). PDVSA officers and
employees Were “foreign officials” as that term is used in the FCPA, Title 15,

United States Code, Section 78dd-2(h)(2)(A).

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2. At all relevant times, Defendant CHARLES QUINTARD BEECH
III (“Defendant BEECH”) was a U.S. citizen and a resident of Texas, and
controlled, together with others, a number of closely-held companies, including
two companies based in the Southern District of Texas, that BEECH used to
secure contracts with PDVSA. BEECH was thus a “domestic concern” and an
oft`icer, director, employee, agent, and shareholder of a “domestic concern” as
those terms are used in the FCPA, Title 15, United States Code, Section 78dd-
2(h)(l)-

3. At all relevant times, Alfonzo Eliezer GRAVINA Munoz
(“GRAVINA”), a resident of the Southern District of Texas, was employed by
PDVSA or a wholly owned subsidiary thereof, including as a purchasing manager.
GRAVINA’s job responsibilities included selecting companies for bidding panels,
which allowed those companies to submit bids on individual PDVSA projects.
GRAVINA, who has been charged separately, was a “foreign oft`lcial” as that term
is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(2)(A).

4. “Official G,” an individual whose identity is known to the United
States, was at all relevant times working for PDVSA or a wholly owned subsidiary
thereof, including as a senior executive for Bariven. Official G’s job
responsibilities included exercising authority over or managing the purchasing and

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procurement process for Bariven. Official G was a “foreign official” as that term

is used in the FCPA, Title 15 , United States Code, Section 78dd-2(h)(2)(A).

M_T__Q_IIE_
(18 U.S.C. § 371 - Conspiracy)

5. Beginning in at least 2011 and continuing through at least 2012, in the

Southern District of TeXas and elsewhere, the defendant,
CHARLES QUINTARD BEECH III,

did willfully, that is, with the intent to further the objects of the conspiracy, and
knowingly conspire, confederate, and agree with persons known and unknown, to
commit offenses against the United States, that is: being a domestic concern, and
an officer, director, employee, agent, and shareholder of a domestic concern, to
willfully make use of the mails and means and instrumentalities of interstate
commerce corruptly in furtherance of an offer, payment, promise to pay, and
authorization of the payment of any money, offer, gift, promise to give, and
authorization of the giving of anything of value to a foreign official and to a
person, while knowing that all or a portion of such money and thing of value
would be and had been offered, given, and promised to a foreign official, for
purposes of: (i) influencing acts and decisions of such foreign official in his
official capacity; (ii) inducing such foreign official to do and omit to do acts in

violation of the lawful duty of such official; (iii) securing an improper advantage;

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and (iv) inducing such foreign official to use his influence with a foreign
government and agencies and instrumentalities thereof to affect and influence acts
and decisions of such government and agencies and instrumentalities, in order to
assist Defendant BEECH in obtaining and retaining business for and with, and
directing business to, Defendant BEECH and Defendant BEECH’s companies, in
violation of the Foreign Corrupt Practices Act, Title 15, United States Code,
Section 7 8dd-2(a).
Purpose of the Conspiracv

6. The purpose of the conspiracy was for Defendant BEECH to make
corrupt bribe payments to PDVSA officials, including, but not limited to,
GRAVINA and Official G, to enrich Defendant BEECH by obtaining and

retaining purchase orders with PDVSA.

Manner and Means of the Conspiracy

7 . The manner and means by which Defendant BEECH and his co-
conspirators sought to accomplish the purpose of the conspiracy included, among
other things, the following, while in the Southern District of Texas and elsewhere:

8. Defendant BEECH paid bribes to PDVSA officials through the use of
interstate and foreign wires in order to influence acts and decisions of certain
PDVSA officials in their official capacities and to induce the PDVSA officials to
do and omit to do certain acts, including, but not limited to:

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a. assisting BEECH’s company or companies in winning PDVSA purchase
orders;

b. providing BEECH with inside information concerning the PDVSA
bidding process;

c. placing one or more of BEECH’s companies on certain bidding panels
for PDVSA projects;

d. assisting BEECH’s companies in receiving payment for previously
awarded PDVSA contracts, including by requesting payment priority for
projects involving BEECH’s companies.

9. Defendant BEECH, together with others, caused bribe payments to be

wired from the bank accounts of BEECH’s company to the bank accounts of a
relative of a PDVSA official or an entity designated by the PDVSA officials who
received the bribes.

lO. Defendant BEECH had certain of the bribes paid into a U.S. bank

account in the name of a relative of a PDVSA official in order to conceal the
nature, source, and ownership of the bribe proceeds.
Overt Acts
ll. In furtherance of the conspiracy and to achieve the objects thereof`, at

least one of the co-conspirators committed or caused to be committed, in the

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Southern District of Texas and elsewhere, at least one of the following overt acts,
among others:

12. On or about May 22, 2012, Defendant BEECH caused $15,000 to be
transferred from a bank account in the name of a company owned by Defendant
BEECH to a bank account in the name of one of GRAVINA’s relatives in
exchange for GRAVINA’s assistance in awarding PDVSA purchase orders to a
company or companies owned by Defendant BEECH.

13. On or about August 23, 2012, Defendant BEECH caused
$132,240.32 to be wired from a U.S. bank account in the name of a company
owned by Defendant BEECH to a Swiss bank account in the name of a company
controlled by Official G in exchange for Official G’s assistance in giving payment
priority to a company or companies owned by BEECH ahead of other PDVSA
vendors with outstanding invoices.

All in violation of Title 18, United States Code, Section 371.

NoTICE oF CRIMINAL FoRFEITURE
(28 U.s.C. § 2461(¢); 18 U.s.c. § 981(a)(1)(c))

14. Pursuant to Title 28, United States Code, Section 246l(c) and Title
18, United States Code, Section 981(a)(l)(C), the United States gives notice to
CHARLES QUINTARD BEECH III that in the event of his conviction of the

offense charged in Count l of the Information, the United States intends to seek

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forfeiture of all property, real or personal, which constitutes or is derived from

proceeds traceable to such offenses.

Money Judgment

Defendant is notified that upon conviction, a money judgment may be

imposed equal to the total value of all property subject to forfeiture.

Substitute Assets
15, Defendant is notified that in the event that property subject to
forfeiture, as a result of any act or omission of defendant or his co-conspirators,
a. Cannot be located upon the exercise of due diligence;
b. Has been transferred or sold to, or deposited with, a third person;
c. Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided
without difficulty;

the United States will seek to forfeit any other property of the defendant up to the
total value of the property subject to forfeiture pursuant to Title 21, United States
Code, Section 853(p), as incorporated by reference in Title 28, United States Code,

Section 246l(c) and Title 18, United States Code, Section 982(b)(l).

BY:

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